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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MONTANA
                           MISSOULA DIVISION


                                              CV-20-164-M-DLC-KLD
TRAVIS BOOSE,

                    Plaintiff,                     ORDER

vs.

FNP, INC. ET AL,
                    Defendant.

      Consent to the jurisdiction of a United States Magistrate Judge having been

either withheld or met with objection,

      IT IS ORDERED:

      1. The case remains assigned to the Honorable Dana L. Christensen, United

States District Judge, for all further proceedings and entry of judgment.

      2.     Pursuant to 28 U.S.C. '636(b)(1)(B), the case is referred to the

Honorable Kathleen L. Desoto, United States Magistrate Judge, who will conduct

all necessary hearings and submit to the undersigned proposed findings of fact and

recommendations for the disposition of all motions excepted from the Magistrate

Judge=s jurisdiction by 28 U.S.C. '636(b)(1)(A).
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      3.   The Clerk of Court is directed to forthwith notify the parties of the

making of this Order.

      DATED this 11th day of January, 2021.


                                      ________________________________
                                      Dana L. Christensen,
                                      United States District Judge
